                                        Case 5:17-cv-01415-AB-KK Document 242 Filed 03/15/19 Page 1 of 2 Page ID #:12003

        UNITED STATES DISTRICT COURT                                                                                  TRANSCRIPT ORDER FORM                                                                      COURT USE ONLY
       CENTRAL DISTRICT OF CALIFORNIA                                                      Please use one           form per court                 per câse, and contact court reporter                             DUE DATE:
                                                                                        directly immediately aft er                               ( Addítional instructions on nert

       la.     Contact Person                                                                    2a. Contact Phone                                                     3a. Contact E-mail
               for this Order
                                 Delilah Phiefer                                                                                 310-586-7766                                                     phieferd6gtlaw.com
                                                                                                     Number                                                                   Address


      lb. AttorneyName                                                                          2b. AttorneyPhone                                                      3b. Attorney E-mail
               (ifdifferent)    Mark Kemple                                                                                      310-586-7864                                                     kemplem@lgtlaw.com
                                                                                                     Number                                                                   Address

  4.   MAILING ADDRESS (INCLUDE LAW FIRM NAME, IF APPLICABLE)
                                                                                                                      5. Name & Role     of
                                                                                                                           Party Represented
                                                                                                                                               Defendant Wal-Mart Stores, lnc.
       840 Century Park East
                 1900                                                                                                 6.   Case Name           Chelsea Hamilton v. Wal-Mart Stores, lnc., et al.
           s   Angeles, CA 90067

                                                                                                                      7a. District Court                                                                 7b. Appeals Court
                                                                                                                          Case Number
                                                                                                                                               5:17-cv-0141S-AB-KK
                                                                                                                                                                                                             Case Number


  8. INDICATE WHETHER PROCEEDING WAS                      (choose only one per     form):
                         ! uclrerlv RECoRDED fi                      rneNscrunrD By A couRT REnoRTER; NAME oF couRT REpoRTER:                                            Chia MeiJui


 g.THISTRANSCRIPToRDERISFoR:
                                                   f,   Appeal      ffi   Non-Appeal                    I         Criminal       X   Civil                I Cle n USA n                     FPD   l-l    Informapauperis(Courtorderfort¡anscriptsmustbeattached)

                                                                                                                                                                                        You MUST check the docket to see if the transcript has already been Jiled, and.   if   so,
 10. TRANSCRIPT(S) RXQUESTED (Specify portion(s) and date(s) ofproceeding(s) for which transcript is requested, format(s), and delivery type):
                                                                                                                                                                                             provide the "Release of Transcript Restriction" date in column c, below.
  a. HEARING(S) OR PORTIONS OF HEARINGS (Attach add,itional pages if necessary.                              lf   sealed" a court                                       (CM / ECF øccess included           c. RELEASEOFTRANS.
  order releasing transcriPt ¡o the ordering party must be nttached here or emailed to                                                 b. SELECTFORMAT(S)              with purchase oJ transc¡ipt.)         RESTRICTION DATE
                                                                                                                                                                                                                                            d.      DELIVERYTYPE

                                                                  PROCEEDING TYPE / PORTION                                                    TEXT   /              CONDEN-                                  (Provide release date of       (One per
                DATE               JUDGE                                                                                               PDF                                        CIVUECF       WORD
                                                 Ifrequesting less thm full hearin6 speci$ portion (e.g., witness or time), CfA                 ASCII      PÂPER        SED       .{ccEss                  efiled transcrípt, or check to   court
                                   (name)                                                                                             (emil)                                                  INDEXING
                                                                                                                                                                                                             certify none yet on file. \

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                                                    o¡ders: indiete ifopenilss, clositrss, voù di¡e, or instructions reouested.                (email)                 (email)     (web)                                                                but

           03lrsl20t9           Andre Birotte
                                                Final Pretrial Conference
                                                                                                                                                                                                o           U                               DAITY (Next day)

                                                                                                                                       CCCOCC                                                               C
                                                                                                                                       CC C O C                                                 C           C
                                                                                                                                       cc                  o o o                                o           o
                                                                                                                                       CC                  C O C                                C           U
  1   1.   ADDITIONAL COMMENTS, INSTRUCTIONS,                                    ETC.         Orders:                                          orders dt            authorizations to    be              in Section 14        -24 Voucher (attach add'l       needed).




 12. ORDER & CERTIFICATION. By signing                                                                        pay                                                          or                                            take all necessary steps to secure
 payment under the Criminal Justice Act.
                                                                                              Date          03- rs-20       l9                                     Signature        /s/ Mark      D. Kemple
G-120 (0s/18)
                            Case 5:17-cv-01415-AB-KK Document 242 Filed 03/15/19 Page 2 of 2 Page ID #:12004
                                CENTRAL DISTRICT OF CALIFORNIA TRANSCRIPT ORDER FORM - INSTRUCTIONS
Please use this   form to order transcripts of court proceedings. Additional information about ordering transcripts is available on the Court's website at www.cacd,uscourts.

addition, if a proceeding was sealed, you must obtain a court order before requesting the transcript. You must also determine which court rãporter coveied the hearing, or
whether it was digitally recorded (many proceedings held before Magistrate |udges are digitally recorded); check the Court Reporter Schedule and the Minutes of the
proceeding. Then:
        1. Complete a separate G-120 order fgm for each case number for which transcripts are ordered.
        2' Complete a separate G_-120 order form for each court rep-orter who reported prö-ceedings in the case, and one for any digitally recorded proceedings.
        3. Complete Items I - 12. Keep_a co-py of your completed order form for your recbrds.
        4' CJA Counsel must submit this form using the Central District's eVoucher system. Otherwise, this form must be e-fìled in the Central District's CM/ECF
        lYstlm, elcjPt when. the order is placedþ)r someone without e-filing privilegei or by a non-party, In such cases, e-mail the completed form to the Court Reporting
        E-filers should goqPlgl"J!. form, "print to PDF" or scañ (fìrst page only) in ¿.ANDSCAPE, and e-fìle uTing either the Civil ot-C.i*it               Order Forfir'
        (G-120)" event in CM/ECF.                                                                                                             "l?Traáscript
        5. CJA orders *$ b: processed in eVoucher. For other orders, after e-filing the completed G-120 you will receive an email from the Court Reporting Serrices
        Office with further instructions.
                                                               rTEM-BY-ITEM TNSTRUCTTONS (TTEMS r-r2):
Items l-3. In fìelds la,2a, &   3a, please provide the contact name and  information for the person responsible for ordering the transcript. In a law office, this may be a
paralegal or administrative assistant, not the attorney. In fields lb, 2b & 3b, provide the attorney name and contact info, if the attorney is not the contact person.
Item5.Includeboththenameandroleoftheorderingparty(i.e.,"DefendantJohnSmith"). Maybeleftblankiforderisbeingplacedbyanon-party.
ItemTa. Only one case number may be listed per order.
Item 8. Refer to the Minutes of the proceeding to determine whether the hearing was digitally recorded ("CS" or "CourtSmart") or transcribed by a court reporter. If the
Minutes read "MINUTES (IN CHAMBERS)," this means no proceeding was held, no recording was made, and no court reporter was present, so no transcript exists. If no
Minutes have been fìled, contact the judge's courtroom deputy (list here). If the Minutes indicate the proceeding was sealed, you need a court order to get the transcript.
Item 9. Check appeal OR non-appeal AND criminal OR civil. You may also check one of the other boxes if applicable, NOTE: a court order specifically authorizing
transcripts is required before transcripts may be ordered in forma pauperis.
Item l0a. List specifìc date(s) of the proceeding(s) for which transcript is requested. Under "Proceeding Type/Portion," indicate briefly what type of proceeding it was,

Item l0b. Select desired FORMAT(S) for transcript. There is an additional charge for each format ordered.
ltem l0c. For each proceeding, you must either provide the Release of Transcript Restriction date or mark the circle to certifr that no transcript has yet been e-fìled.
Item lOd. Seven DELIVERY TYPES are available. Times are computed from date payment is satisfied (or, for government orders, the DCN number received). NOTE: Full
price may be charged only if the transcript is delivered within the required time frame. For example, if an order for an expedited transcript is not completed and delivered

         TRANSCRIPT DELMRY TIMES (For anything other than "Ordinary" delivery, you rnust check with the court reporter Íirst to see if the option is øvøilable.)
                  ORDINARY          30 calendar days.       DAILY (NEXT DAY)            To be delivered the next calendar day whether or not actually a court da¡
                  f 4-DAY
                                 -          days.                                    -
                                                               prior to the normal opening hour of the Clerk's Offìce.
                  EXPEDITED
                           - 14 calendar
                                     7 calendar days.       HOURLY (SAME DAY)
                  3-DAY
                                  -
                              3 calendar days.              REALTIME
                                                                                        - Within two (2) hours.
                                                                              A draft unedited transcript produced by a certified realtime reporter as a byproduct of
                          -                                                -
                                                               realtime to be delivered electronically during proceedings or immediately following receipt of the order.
Item ll. CIA Counsel must explain why special requests are necessary to the representation. Special requests include opening statements, closing arguments, voir dire, or
jury instructions; transcripts for use in proceedings other than appeals; requests for expedited handling; and requests covered by Section 14 ofthe CIA-24 Voucher.
Item 12. Sign and date in this space to certifr that you will either pay all charges (the deposit plus any additional charges) or promptly take all steps necessary to secure
payment under the ClA. An electronic or conformed (/s/) signature is acceptable.

                                                                                                                                                                    G-120 (0s/18)
